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                                      UNITED STATES DISTRICT COURT
                                                                          for the
                                                 Eastern District of California

UNITED STATES OF AMERICA,
                                                                          )
                              v.                                          )
                                                                          )             Case No.      1:18-cr-00219-DAD-BAM
JIMMY KHIO,                                                               )


                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
    the court may impose.

      The defendant must appear at:             U.S. DISTRICT COURT, 2500 Tulare Street, Fresno, California
                                                                                              Place

      before District Judge Dale A. Drozd in Courtroom 5

      on                                                            June 8 at 10:00 AM
                                                                              Date and Time

      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance and Compliance Bond, if ordered.



***RELEASE IS DELAYED UNTIL 3rd PARTY CUSTODIAN RAMINA ISHAC IS ABLE TO PICK UP
THE DEFENDANT FROM THE LERDO COUNTY JAIL, AT WHICH TIME HE SHALL BE RELEASED
BY THE LERDO COUNTY JAIL STAFF INTO HER CUSTODY FOR TRANSPORTATION DIRECTLY
TO THE PRE-APPROVED LOCATION***
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                          ADDITIONAL CONDITIONS OF RELEASE
Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety
of other persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked
below:

 ;     (6)      The defendant is placed in the custody of:

                  Name of person or organization        Ramina Ishac

         who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort to assure the
         appearance of the defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the
         defendant violates any conditions of release or disappears.
                             V5DPLQD,VKDF
                  SIGNED: ________________________________
                                      CUSTODIAN
 ;     (7)      The defendant must:
       ;        (a) report on a regular basis to the following agency:
                    Pretrial Services and comply with their rules and regulations;
       ;        (b) report to the Pretrial Services Agency as directed on the first working day following your release from custody;
       ;        (c) cooperate in the collection of a DNA sample;
       ;        (d) travel restricted to the Northern District of Illinois and the Eastern District of California for Court purposes only
                    unless otherwise approved in advance by PSO;
       ;        (e) following your release from custody, you must complete a 14-day quarantine period at a location approved by
                    Pretrial Services. During your 14-day quarantine period, you must remain inside your residence at all times,
                    except for medical needs pre-approved by the PSO. During this 14-day quarantine period, you must comply with
                    any and all telephonic and virtual (video) reporting instructions given to you by the Pretrial Services Office;
       ;        (f) upon completion of the 14-day quarantine period, you must reside at a location approved by the PSO and not
                    move or absent yourself from this residence for more than 24 hours without the prior approval of the PSO;
       ;        (g) report any contact with law enforcement to your PSO within 24 hours;
       ;        (h) not associate or have any contact with any co-defendants or any known gang members, unless in the presence of
                    counsel or otherwise approved in advance by the PSO;
       ;        (i) not possess, have in your residence, or have access to a firearm/ammunition, destructive device, or other
                    dangerous weapon; additionally, you must provide written proof of divestment of all firearms/ammunition,
                    currently under your control;
       ;        (j) refrain from excessive use of alcohol, or any use of a narcotic drug or other controlled substance without a
                    prescription by a licensed medical practitioner; and you must notify Pretrial Services immediately of any
                    prescribed medication(s). However, medical marijuana, prescribed and/or recommended, may not be used;
       ;        (k) submit to drug and/or alcohol testing as approved by the PSO. You must pay all or part of the costs of the testing
                    services based upon your ability to pay, as determined by the PSO;
       ;        (l) surrender your passport to the Clerk, United States District Court, and you must not apply for or obtain a passport
                    or any other travel documents during the pendency of this case;
       ;        (m) attempt to be tested with Pretrial Services approval at Accelerated Urgent Care to determine if you are infected
                    with COVD-19 and share the test results with the PSO as soon as results are obtained, prior to your travel to the
                    Northern District of Illinois;
       ;        (n) execute a bond or an agreement to forfeit upon failing to appear or failure to abide by any of the conditions of
                    release, the following sum of money or designated property: All available equity in his wife’s property
                    (approximately $109,622); and,


                USMS SPECIAL INSTRUCTIONS:
       ;        (o) have your release on bond delayed until the posting of the property bond.
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                                         ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT: JIMMY KHIO

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation
are significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more – you will be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years – you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony – you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor – you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set
forth above.




                                                                                         /s/ Jimmy Khio
                                                                                       Defendant’s Signature




                                             Directions to the United States Marshal

(  ) The defendant is ORDERED released after processing.



          April 14, 2020
Date:
                                                                                     Judicial Officer’s Signature


                                                                           DALE A. DROZD, DISTRICT JUDGE
                                                                                       Printed name and title




                   DISTRIBUTION:     COURT     DEFENDANT        PRETRIAL SERVICE       U.S. ATTORNEY          U.S. MARSHAL
